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UNITED sTATEs DISTRICT CoURT V§L§E‘g,;t!~ 1,~5;_; -;[l§ITKQ§§-S

WESTERN DISTRICT OF TENNESSEE

ROBERT R. DiTROLIO, CLERK
167 North Main Street
Suite 242
Memphis, TN 38103
901-495-1200

May 16, 2005
Cassandra Mann
4599 Millport Cv
Memphis, TN 38116

RE: Refund of Cash Appearance Bond

Our records indicate that you have requested a refund of the cash appearance bond posted
in case number 03cr20301. We Will not be able to issue the refund at this time because:

XThe defendant has not fully complied with the requirements of said bond and orders of this
Court.

gYours is not the name of the payee on the receipt

Please feel free to contact our office with any questions regarding this matter at the address
or phone number listed above.

Robert R. Di Trolio,
Clerk of Co

Thls document entered on the docket sh%\ JVSW`
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with Rule 55 and{or 32(b) FRCrP on ark

   

UNITED sTATE D"ISIC COUR - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CR-20301 Was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed

 

 

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

